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DELAWARE CHARTER GUARANTEE AND TRUST
COMPANY, dba TRUSTAR RETIREMENT SERVICES

Attorneys for Defendant ` ` "" , v{ wqu

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

/

RONALD ERPELDING, an individual; Case No. 03 CV 0204 W (NLS)
BARBARA ERPELDING, an individual; RON
& SONS' TRUCKING, INC., a Califomia REPLY MEMORANDUM OF POINTS AND
corporation, AUTHORITIES IN SUPPORT OF
DEFENDANT'S MOTION TO DISMISS
Plaintiff, AND STRIKE PORTIONS OF THE FIRST
AMENDED COMPLAIN'I`

v.
Date: May 8, 2006
DELAWARE CHARTER GUARANTEE AND Time: 10:30 a.m.
TRUST COMPANY, dba TRUSTAR

RETIREMENT SERVICES, a Delaware Ctrm: 7
corporation, Judge: Thomas J. Whelan
Defendant. NO ORAL ARGUMENT PURSUANT TO
LOCAL RULE

 

 

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l. INTRODUCTION

Defendant Delaware Charter Gua;rantee and 'l`rust Company, dba Trustar Retirement
Services ("Trustar") hereby replies to Plaintiffs Ronald and Barbara Erpelding's (the "Erpeldings")
and their company, Ron and Sons' Trucking, lnc.’s ("Ron and Sons") (collectively, "Plaintiffs")
opposition to Trustar's motion to dismiss.

ln their opposition, Plaintiffs ask this Court to ignore the parties' Retainer Agreement (the
"Agreement“) so they can make their conclusory third-party beneficiary allegations; ignore the
Agreement's provision regarding Trustar's non-fiduciary services; and accept their internally
inconsistent causes of action. However, the Agreement cannot be ignored since any intent to
benefit the Erpeldings as third-party beneficiaries must appear from the terms of the Agreement.
Further, the plain language of the Agreement cannot be disturbed simply because Plaintiffs wish to
create fiduciary liability where none exists. Plaintiffs' attempt to re-write the Agreement is futile
in any event, since Plaintiffs concede in their First Amended Complaint that Trustar acted as a
"non-discrezionary" third-party administrator, and therefore could not be Ron and Sons' fiduciary

Plaintiffs' negligence and unjust enrichment claims also must be dismissed, since they are
not pled in the alternative, but rather rely exclusively on the allegations pertaining to the parties'
Agreement. Indeed, Plaintiffs incorporate the allegations regarding the Agreement into their
negligence and unjust enrichment causes of action, making them internally inconsistent with
California law.

For the reasons discussed herein and in Trustar's moving papers, the Erpeldings should be
dismissed as plaintiffs, and Ron and Sons' non-contractual claims contained in the First, Second,
Fourth and Fiiih Causes of Action should be dismissed l
II. THE ERPELDINGS ARE NOT THIRD-PARTY BENEFICIARIES

Plaintiffs argue that the Court must accept their allegations that the Erpeldings are third-
party beneficiaries to the Agreement, regardless of how "improbable" that may be. Opp. at 5.
However, the Court is not required to accept Plaintiffs' self-serving allegations, since they are
directly contradicted by the plain language of the Agreement attached to the First Amended
Complaint. See Hal Roach Studios v. Richard Feiner and C0., 896 F.2d 1542, 1555 n.19(9t11 Cir.

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1990). "[W]hen a Written instrument contradicts allegations in a complaint to which it is attached,
the exhibit trumps the allegations." 2710mpson v. Illi`nots Dept. of Professional Regulatt`on, 300
F.3d 750, 754 (7th Cir. 2002) (emphasis by court).

Further, "[f]or a third party to qualify as a beneficiary under a contract, the contracting
parties must have intended to benefit that third party, and their intent must appear from the terms
of the contract." Ascherman v. General Reinsurance Corp., 183 Cal. App. 3d 307, 311 (1986)
(emphasis added). The alleged Agreement must have been made expressly for the third-party
beneficiaries' benefit. Cal. Civ. Code § 1559. "[E]xpressly means in an express manner; in direct
or unmistakable terms; explicitly; definitely; directly." Sofias v. Bank ofAmerz`ca, 172
Cal. App. 3d 583, 587 (1985). "While it is not necessary that a third party be specifically named,
the contracting parties must clearly manifest their intent to benefit the third party." Kalmanovi`tz v.
Bitting, 43 Cal. App. 4th 311, 314 (1996).

Plaintiffs contend that their allegations regarding the purpose of the Agreernent, rather than
the Agreement itself`, should be considered in determining whether the Erpeldings are third-party
beneficiaries to the Agreement, citing Kalmanovz'tz, 43 Cal.App.4th at 314-15. However,
Kalmanovitz does not support Plaintiffs' contention - it holds: "The test is whether an intent to
benefit claimants appears from the terms of the agreement." Id. at 315 (emphasis added).

Here, the patent terms of the Agreement directly contradict Plaintiffs' contention that the
pulpose of the Agreement was to create a plan for the Erpeldings. Exh. "A." The Agreement
states that Trustar was to provide plan set-up and administrative recordkeeping services for Ron
and Sons. Exh. "A," 1111 1, 13, 17. While Trustar's administrative services for Ron and Sons may
have incidentally benefited the Erpeldings as owners of Ron and Sons, the plain language of the
Agreement does not expressly reveal an intention to benefit the Erpeldings as individualsl lt is
simply not enough that the contract may have benefited the Erpeldings:

The fact that he is incidentally named in the contract, or that the
contract, if carried out according to its terrns, would inure to his
benefit, is not sufficient to entitle him to demand its fulfillment lt
must appear to have been the intention of the parties to secure to
him personally the benefit of its provisions.

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Walters v. Calderon, 25 Cal. App. 3d 863, 870-71 (1972) (emphasis by court)', see also Bancomer,
S. A. v. Supert`or Court, 44 Cal. App. 4th 1450, 1458 (1996).

Plaintiffs argue alternatively that the Erpeldings have standing to bring their negligence
claims. However, as discussed below and in Trustar's moving papers, the "negligence" claims
alleged in the First Amended Complaint are merely claims that Trustar did not fulfill its
contractual obligations under the Agrcement, and Plaintiffs fail to allege any independent duty
owed to the Erpeldings.

Accordingly, the Erpeldings do not have standing to bring the claims alleged in the First
Amended Complaint, since they do not allege any duties, contractual or otherwise, owed to them
by Trustar. The Erpeldings should be dismissed, leaving Ron and Sons as the sole plaintiff
III. THE ALLEGED "NEGLIGENCE" CLAIMS IMPROPERLY PLEAD CONTRACT

BREACHES AS TORTS, AND ARE NOT MERELY ALTERNATIVE THEORIES

Despite the clear mandate of Calif`ornia law that tort causes of action outside the insurance
and fraud context cannot be pled in what are really just breach of contract cases, Ron and Sons
argue that their negligence claims should not be dismissed because they are pled in the altemative.

However, Ron and Sons' so-called "negligence" claims are not pled as alternatives to their
breach of contract claim, but rather they depend exclusively on the allegations relating to the
Agreement. As detailed in Trustar's moving papers, the "duties" alleged in Ron and Sons'
negligence claims are simply obligations arising under the express terms of the Agreement. 1111 34,
38-40, 47, 51-53. Indeed, Ron and Sons' Third Cause of Action for “Breach of Written Contract"
alleges that the Agreement governed Trustar's administrative services, and complains of exactly
the same alleged actions and omissions by Trustar. ‘|1‘|1 58, 61-62. Ron and Sons simply fail to
allege any independent duty apart from the obligations under the Agreement to support their
negligence claims.

Critically, Ron and Sons' negligence claims also incorporate the First Amended
Complaint's allegations regarding the Agreement. 1111 9, 32, 33, and 46. Therefore, rather than
pleading in the altemative, these causes of action clearly contain internal inconsistencies See

CEO Marketing Promotions v. Heartland Promotz`ons, 739 F. Supp. 1150, 1152-53 (N.D.Ill. 1990)

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(inconsistent unjust enrichment claim was not pled in alternative where claim incorporated
allegation that parties entered into express agreement).

In CEO Marketing Promotions, the plaintiffs made the identical argument that Ron and
Sons make here - that they could allege a claim for unjust enrichment, even though it was legally
inconsistent with their express contract claim, because they were simply pleading in the alternative
under Rule 8(e)(2).l Id. at 1152. The court disagreed, explaining that the plaintiffs had not pled
alternative theories, since the plaintiffs unjust enrichment claim incorporated the allegation that
the parties had entered into an express oral agreement Id. The court concluded, therefore, that
the unjust enrichment claim contained "an internal inconsistency and is subject to dismissal." Id.
at 1153.

Ron and Sons' negligence claims are really just claims that Trustar did not fulfill its
contractual obligations under the Agreement See Brown v. California Pensr`on Adm 'rs &
Consultants, Inc., 45 Cal. App. 4th 333, 346 (1996); Erlich v. Menezes, 21 Cal. 4th 543, 551
(1999); Power Stana’ards Lab., Inc. v. Federal Express Corp., 127 Cal. App. 4th 1039, 1047
(2005); Butler-Rupp v. Lourdeau.x, 134 Cal. App. 4th 1220, 1227 (2005); Money Store Inv. Corp.
v. Southern Cal. Bank, 98 Cal. App. 4th 722, 731-32 (2002). By incorporating the allegations
regarding the Agreement into their negligence claims, these claims are internally inconsistent
under California law. Ron and Sons' negligence claims should therefore be dismissed.

IV. THE PLAIN LANGUAGE OF THE PARTIES’ AGREEMENT BELIES RON AND

SONS' CLAIM FOR "BREACH OF COMMON LAW FIDUCIARY DUTY"

The Agreement expressly and unambiguously provides that Trustar is not a fiduciary to
Ron and Sons, and that Trustar has absolutely no control or choice with regard to plan assets or
money:

[Trustar] is not a fiduciary to the plan, the trust, the plan
participants, or the Employer [Ron and Sons]. [Trustar] is a third
party administrator and shall not exercise any power of control,

management or choice with respect to the disposition, investment or

custody of plan assets or money. [Trustar] shall not act as the Plan
Administrator or the Plan Trustee, or in place of either.

 

l Ron and Sons repeat this same argument for their "unjust enrichment" cause of action (Opp. at

10), as discussed below.

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Exh. "A," 11 7. Nevertheless, Ron and Sons ask this Court to omit these contract terms and replace
them with a more narrow reading - that Trustar was not a fiduciary as defined under

ERlSA § 3(21) only, and that Trustar was a common law fiduciary Ron and Sons argue that
ERISA defines a "fiduciary with respect to a plan," and therefore the language in the Agreement
should be limited to an ERISA-defined fiduciary

However, paragraph 7 of the Agreement clearly provides that Trustar is not a fiduciary in
any respect Specifically, Trustar is not a fiduciary (a) to the plan; (b) to the trust; (c) to the plan
participants; or (d) to Ron and Sons, as the employer. Ron and Sons conveniently focuses on (a)
only, but the full provision is much broader. There is nothing that limits this provision to
fiduciaries as defined under ERISA § 3(21). Calif`ornia law requires ascertaining the substance of
contracts, rather than inserting what has been omitted or omitting what has been inserted.

Cal. Code Civ. Proc. § 1858.

Ron and Sons nevertheless contend that the remaining language of paragraph 7 supports
their limited fiduciary definition, since it uses the words "control," "choice," and "management" of
plan assets and money, which are similar to the words used in ERISA's definition of "fiduciary."
However, this is also how non-ERISA fiduciaries are defined. See, e.g., Black'S Law Dictionary
625 (6th ed. 1990) (detining "fiduciary" as "[a] person or institution who manages money or
property for another and who must exercise a standard of care in such management activity
imposed by law or contract."); Mars v. Wedbush Morgan Securities, Inc., 231 Cal. App. 3d 1608,
1614-15 (1991) (no fiduciary duty where no control over account and acting only upon
instruction); Ventura County Dep't of Chz`ld Support Servs. v. Brown, 117 Cal. App. 4th 144, 154
(2004) (fiduciary status exists with uncontrolled discretion).

Ron and Sons further contend that the last sentence of paragraph 7 of the Agreement
supports their narrow interpretation, since it states that Trustar is not a Plan Administrator or Plan
Trustee. However, if this sentence is merely repetitive of the first sentence, as Ron and Sons'
contends, such a construction would render it surplusage, which is to be avoided. City of El Cajon

v. El Cajon Polr`ce Ojj'icers'Ass'n, 49 Cal. App. 4th 64, 71 (1996).

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ln any event, even if the Court were to accept Ron and Sons' overly narrow interpretation
of "fiduciary," Ron and Sons' fiduciary claim would still be properly dismissed, since the First
Amended Complaint expressly concedes that at all relevant times, Trustar acted as a
"non-dt`scretionary" third party administrator. 11 17. Without any discretion or control, Trustar
could not be held liable as a fiduciary See, e.g., GAB Bust'ness Ser'vs., Inc. v. Lindsey & Newsom
Clat`m Servs., Inc., 83 Cal. App. 4th 409, 420-21 (2000), disapproved on other grounds, Reeves v.
Hanlon, 33 Cal. 4th 1140, 1 152 (2004) (fiduciary status requires discretionary management
authority); Mars, 231 Cal. App. 3d at 1614-15 (1991) (no fiduciary duty where no control over
account and acting only upon instruction); Brown, 117 Cal. App. 4th at 154 (fiduciary status exists
with uncontrolled discretion).

Moreover, as with Ron and Sons' negligence claims, Trustar's alleged "fiduciary duty"
regarding calculation of Plan contributions (111] 64-68) is actually an alleged contractual obligation
under the Agreement As alleged in Ron and Sons' Third Cause of Action for “Breach of Written
Contract," the Agreement provided that Trustar would perform proper contribution calculations
11 61. Accordingly, this cause of` action should be dismissed
V. NO IMPLIED CONTRACT EXISTS

Ron and Sons argue that their "unjust enrichment" cause of action should not be dismissed
because it is pled in the altemative. However, as discussed above, this cause of action is internally
inconsistent, since it incorporates the allegations regarding the express Agreement 11 69. See
CEO Marketing, 739 F. Supp. at 1152-53 (unjust enrichment claim was not pled in alternative,
since claim incorporated allegation that parties entered into express agreement). Under Califomia
law, claims rooted in an implied contract theory, such as unjust enrichment, cannot co-exist with
express contract claims relating to the same subject matter. Wal-Noon Corp. v. Hi'll, 45
Cal. App. 3d 605, 613 (1975); Newbery Corp. v. Fireman's Fund Ins. C0., 95 F.3d 1392, 1405 (9th
Cir. 1996) (reciting Califomia law). Therefore, this cause of action should also be dismissed
Vl. CONCLUSION

Based on the above and the reasons set forth in Trustar's moving papers, Trustar

respectfully requests that the Court grant its motion to dismiss the Erpeldings as plaintiffs, dismiss

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l the First, Second, Fourth and Fiiih Causes of Aetion, and strike the negligence and fiduciary duty

2 allegations in the First Amended Complaint

4 Dated: May 1, 2006 Respectfiilly submitted

5 ALLEN MATKINS LECK GAMBLE
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7 By: MSH__‘L_
MICHAEL .1. HOL ES

3 Attomeys for Defendant

DELAWARE CHARTER GUARANTEE
9 AND TRUST COMPANY, dba TRUSTAR
RETIREMENT SERVICES

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PROOF OF SERVICE BY MAIL
S'l`ATE OF CAL[FORNIA )
) ss.:
COUNTY OF SAN DIEGO )

l am employed in the County of San Diego, State of Califomia I am over the age of 18
and not a party to the within action. My business address is 501 West Broadway, 15th Floor, San
Diego, Califomia 92101-3541.

On May 1, 2006, l served on interested parties in said action the within:

> REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
OF DEFENDANT'S MOTION TO DISMISS AND STRIKE PORTIONS OF
THE FIRST AMENDED COMPLAINT

by placing true copies thereof in sealed envelope(s) addressed as stated below and causing such
envelope(s) to be deposited in the U.S. Mail at San Diego, Califomia.

Marc S. Schechter, Esq.

Susan L. Northup, Es .

Butterlield Schechter LLP

10616 Scripps Summit Court, Suite 200
San Diego, CA 92131

Tel: (858) 444-2300

Fax: (858) 444-2345

l am readily familiar with this firm's practice of collection and processing correspondence
for mailing Under that practice it would be deposited with the U.S. Postal Service on that same
day in the ordinary course of business l am aware that on motion of party served, service is
presumed invalid if postal cancellation date or postage meter date is more than 1 day after date of
deposit for mailing in affidavit

l declare under penalty of perjury that l am employed in the office of a member of the bar
of this Court at whose direction the service was made and that the foregoing is true and correct

Executed on May l, 2006, at San Diego, Califomia

Pamela T. Lewis \ M&__\

(Type or print name) (Sighaty}e)

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